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                EXHIBIT 12


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                                  SOURCE CODE

1                      UNITED STATES DISTRICT COURT
2               FOR THE NORTHERN DISTRICT OF CALIFORNIA
3      SONOS, INC.,
4              Plaintiff,
5                   vs.              Case No. 3:21-CV-07559-WHA
6      GOOGLE LLC
7              Defendant.
       ____________________________
8      -AND-
9      GOOGLE LLC,
10             Plaintiff,
11                  vs.              Case No. 3:20-CV-06754-WHA
12     SONOS, INC.,
13             Defendant.
       ___________________________
14        **HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY**
15                             **SOURCE CODE**
16
17              ZOOM DEPOSITION OF DAN SCHONFELD, Ph.D.
18     (Reported Remotely via Video & Web Videoconference)
19             Northbrook, Illinois (Deponent's location)
                          Wednesday, August 31, 2022
20
       STENOGRAPHICALLY REPORTED BY:
21     REBECCA L. ROMANO, RPR, CSR, CCR
       California CSR No. 12546
22     Nevada CCR No. 827
       Oregon CSR No. 20-0466
23     Washington CCR No. 3491
24     JOB NO. 5414658
25     PAGES 1 - 252

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1      objection to this deposition officer administering        09:15:40

2      a binding oath to the deponent via remote

3      videoconference, starting with the noticing

4      attorney, please.

5                MR. SMITH:   No objection.                      09:15:55

6                MS. AUBRY:   No objection.

7                THE COURT REPORTER:     Okay, Doctor, if you

8      could raise your right hand for me, please.

9                THE DEPONENT:   (Complies.)

10               THE COURT REPORTER:     You do solemnly         09:15:58

11     state, under penalty of perjury, that the testimony

12     you are about to give in this deposition shall be

13     the truth, the whole truth and nothing but the

14     truth?

15               THE DEPONENT:   I do.                           09:15:58

16               THE VIDEOGRAPHER:     Please continue.

17

18

19

20                                                               09:15:58

21

22

23

24

25     /////                                                     09:16:13

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1      previous questions talked about the editing of --         11:16:03

2      of the static group, and it would apply in that

3      particular circumstance, but I would say that my

4      view is it still applies to what I'm referring to.

5      The language of the performance of the speaker            11:16:26

6      group has to be understood in context to mean the

7      other speakers are either playing or not playing,

8      not the existence of the speaker group prior to

9      addition.

10          Q.     (By Mr. Smith)    So the non-infringing       11:16:52

11     alternative you're describing, again, is not

12     limited to a scenario where the speaker group is

13     already in existence before the new speaker is

14     added to the speaker group; is that correct?

15          A.     It's not limited in this way, and I did       11:17:09

16     not understand paragraph 161 in Exhibit 114 to be

17     limited in this way either.

18                 The -- the phrasing may be a little

19     different from the phrasing I would have used, but

20     I think the meaning is clear that you are never in        11:17:25

21     a situation -- once you've been added, whether it's

22     static or dynamically, you're never in a situation

23     of playing individually as part of the

24     non-infringing alternative.

25          Q.     Okay.   So let's -- let's do an example.      11:17:40

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1      including the -- the added speaker, because you           11:20:24

2      were all added at the same time, are playing audio.

3                And so I -- I don't -- I don't -- I think

4      that what it's describing is meant to be at the

5      higher level and to account for both dynamic and          11:20:38

6      static groups, and so, as a result, he's using

7      the -- the words "speaker group" in a way that one

8      has to understand, in the context of static, there

9      is no static group -- speaker group prior to the

10     formation of the group.                                   11:20:59

11          Q.   Okay.   So, then, let's -- let's go back

12     to -- to your report and going back to -- it's

13     paragraph 726 and 728, and I want to give you a

14     new -- different scenarios, and I want you just to

15     tell me how the -- how the non-infringing                 11:21:22

16     alternative would operate in those scenarios.

17               Does that make sense?

18          A.   Yeah, I will do my best.     Yeah.

19          Q.   Okay.   So if we have a player that is

20     playing audio and it's added to a new group with a        11:21:40

21     player that's not playing audio, what would happen

22     with the non-infringing alternative?

23          A.   Both players would play the same audio

24     that the player was playing.

25          Q.   If a player playing audio is added to a         11:22:15

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1      new group with a player that's playing different          11:22:20

2      audio, what would happen with the non-infringing

3      alternative?

4           A.   Once the group would elect the leader,

5      the -- the audio playing on the leader would be           11:22:35

6      playing on both devices.

7           Q.   If a player that is not playing audio is

8      added to a new group with a player that is playing

9      audio, what would happen with the non-infringing

10     alternative?                                              11:23:02

11          A.   I think that was your first question in

12     this hypothetical.    You just reversed them, but

13     there is no difference.    They would both be playing

14     the same audio.

15          Q.   Okay.                                           11:23:13

16          A.   I may have missed something.

17          Q.   Yeah, what I'm --

18          A.   One of the two questions --

19          Q.   No --

20          A.   -- they sounded identical to me.                11:23:18

21          Q.   Yeah, just the first player was the one

22     not playing audio was added to a group with the

23     second player that was playing audio -- I was just

24     doing the opposite.

25               But you're saying it would operate the          11:23:32

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1      same way, right?    If one of the players is playing      11:23:34

2      audio, then once the group is created, both players

3      would start playing the audio of the player that

4      was playing audio; is that correct?

5           A.   The group is not aware of the term              11:23:44

6      "first" and "second," so I agree with that.

7           Q.   Okay.    Now, if a player is not playing

8      audio and is added to a new group with another

9      player that's also not playing audio, what would

10     happen?                                                   11:24:03

11          A.   They both would not be playing, but they

12     would be -- but the moment either one of them is

13     playing, it would start playing on both.

14          Q.   Okay.    And so would something be

15     happening -- I'll call it -- under the hood that          11:24:19

16     would cause those two players to be configured for

17     synchronous playback once they are added to the

18     group?

19          A.   Yeah, they -- they -- they would be in a

20     situation where they are part of the group.               11:24:35

21     Everybody is paying attention to whether the group

22     is instructed to play music or -- or either of the

23     devices is instructed to play music or audio, and

24     if the answer is audio is about to begin playing,

25     it will play in both of them or not at all.               11:24:55

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1             I, Rebecca L. Romano, a Registered
2      Professional Reporter, Certified Shorthand
3      Reporter, Certified Court Reporter, do hereby
4      certify:
5             That the foregoing proceedings were taken
6      before me remotely at the time and place herein set
7      forth; that any deponents in the foregoing
8      proceedings, prior to testifying, were administered
9      an oath; that a record of the proceedings was made
10     by me using machine shorthand which was thereafter
11     transcribed under my direction; that the foregoing
12     transcript is true record of the testimony given.
13            Further, that if the foregoing pertains to the
14     original transcript of a deposition in a Federal
15     Case, before completion of the proceedings, review
16     of the transcript [ ] was [X] was not requested.
17            I further certify I am neither financially
18     interested in the action nor a relative or employee
19     of any attorney or any party to this action.
20            IN WITNESS WHEREOF, I have this date
21     subscribed my name this 6th day of September, 2022.
22
23
                <%7321,Signature%>
24              Rebecca L. Romano, RPR, CCR
25              CSR. No 12546

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                                              ERRATA SHEET

Case Names:                   Google LLC v. Sonos, Inc.
                              Case No. 3:20-cv-06754-WHA

                              Sonos, Inc. v. Google LLC
                              Case No. 3:21-cv-07559-WHA

Deposition Date:              August 31, 2022

Deponent:                     Dan Schonfeld

I, Dan Schonfeld, do hereby certify that I read the foregoing transcript of my testimony taken on
August 31, 2022, and further certify that it is a true and accurate record of my testimony, with
the exception of the corrections listed below:

 Page      Line          Now Reads                   Should Read                 Reason
 15        2-3           and for – re-cross motion   re: cross motion            Spelling error
 22        7             and – my understanding      my understanding            Transcription error
 26        17            there are notifications     there are ramifications     Transcription error
 29        3             nuanced that the            nuanced than that, the      Transcription error
 33        1             over the                    go over the                 Transcription error
 34        22            and the patent              and the patent examiner     Transcription error
 44        11            fact that are multiple      fact that there are         Transcription error
                         ways                        multiple ways
 47        12-13         in the high level           at a high level             Transcription error
 47        23            of the target scene [sic]   of the target zone scene    Misspoke
 49        21            flushed out                 fleshed out                 Transcription error
 50        13            forming zone scene          forming a zone scene        Transcription error
 53        11            that right                  that’s right                Transcription error
 60        23            Blakewell’s                 Bakewell’s                  Misspoke
 61        23            slightly different word.    slightly different words.   Transcription error
 65        2             may be                      maybe                       Spelling error
 65        4             clearer                     clear                       Transcription error
 68        6             think meaning               think the meaning           Transcription error
 74        22            separate entity             a separate entity           Transcription error
 75        8             join to a group             joined to a group           Transcription error
 75        10            dynamic group               dynamic groups              Transcription error
 75        17            dynamic group               dynamic groups              Transcription error
 76        10            and you do not              if you do not               Transcription error
 87        14            what to use                 want to use                 Transcription error
 91        23            that – and integrated       that are integrated         Transcription error
 104       12            morph it something          morph it into something     Transcription error
 116       14            and some form of            and used some form of       Transcription error
 118       22            Sonos claims                Sonos’s claims              Transcription error

01980-00181/13593556.1                                  1
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 118       22            that Sonos prior           that the Sonos prior       Transcription error
 119       11            Dr. Almeroth he did        Dr. Almeroth had said      Transcription error
 120       21            it is far removed          it is as far removed       Transcription error
 120       22            possible is just           possible. It is just       Transcription error
 124       13            joined first group         joined the first group     Transcription error
 130       22            principal                  principle                  Transcription error
 131       6             keep it very               keep it to a very          Transcription error
 137       16            implication                invocation                 Misspoke
 138       4             design is simple           design is a simple         Transcription error
 141       6             not the technology         not at economic            Transcription error
                         comparability              comparability
 147       7             synchronization            in synchronization         Transcription error
 148       1             synchronization            in synchronization         Transcription error
 150       23            ‘855 [sic]                 ‘885                       Misspoke
 150       25            ‘855 [sic]                 ‘885                       Misspoke
 152       22            two media                  two media players          Transcription error
 153       10-11         ‘855 [sic]                 ‘885                       Misspoke
 153       21            specific                   specification              Transcription error
 153       21            ‘855 [sic]                 ‘885                       Misspoke
 154       2             ‘855 [sic]                 ‘885                       Misspoke
 154       17            ‘855 [sic]                 ‘885                       Misspoke
 155       9             need to                    needed to                  Transcription error
 155       18            describing specification   described in the           Transcription error
                                                    specification
 155       22-23         specification talks        specification that talks   Transcription error
 159       24            to application             two applications           Spelling error
 174       18            my obvious                 my obviousness             Transcription error
 176       19            the fact the               the fact that the          Transcription error
 176       21            compromising               comprising                 Transcription error
 177       11            can be simultaneous        cannot be simultaneous     Transcription error
 187       21            implication                invocation                 Misspoke
 191       4             SetAVITransport [sic]      SetAVTransportURI          Misspoke
 191       11            SetAVITransport [sic]      SetAVTransportURI          Misspoke
 191       15            SetAVITransport [sic]      SetAVTransportURI          Misspoke
 191       20            teaches                    teachings
 192       13-14         SetAVITransport [sic]      SetAVTransportURI          Misspoke
 192       18-19         SetAVITransportURI         SetAVTransportURI          Misspoke
                         [sic]
 197       25            SetAVITransportURI         SetAVTransportURI          Misspoke
                         [sic]
 199       19            two distinction            two distinct               Transcription error
 208       3             it’s disclosing            it’s not disclosing        Transcription error
 219       9             whether it’s prior         whether it’s a prior       Transcription error
 232       8             a obviousness              an obviousness             Spelling error


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 232       20            obvious combination      obviousness              Transcription error
                                                  combination
 242       16            obvious analysis         obviousness analysis     Transcription error


 Dated: October 5, 2022                              By:
                                                           Dan Schonfeld




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